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                      EXHIBIT 1
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From:                Casey Swercheck
Sent:                Tuesday, December 1, 2015 5:48 PM EST
To:                  Bryan D. Kelley
Subject:             introduction / Capitala Group fundraise
Attachments:         Capitala_Investor_Presentation_Q2_2015.pdf


Hi Brian, I hope this note finds you well. I was provided your name by a contact, Louis Colosimo at
Comvest Partners, and he suggested we connect. I believe you interacted on their last capital raise, and
he had a positive experience working with you. As a quick bio, our firm is called Capitala Group, and was
formerly known as CapitalSouth Partners. Founded in 1998 in Charlotte, the firm has managed four SBIC
funds as well a publicly traded BDC (ticker CPTA, IPO Sept 2013). Capitala also manages a series of senior
loan / liquid credit funds, which have included joint ventures with Apollo and Kemper Insurance. We
focus on mezzanine and private equity investments in companies $2-30mm of EBITDA across all sectors
and geographies in the US & Canada. The reason I’m reaching out is that we are considering raising a
private fund that would be more focused on institutional investors vs. our prior investor base via the
SBIC model (although we do have several large institutional LPs including Hamilton Lane). We would like
to identify an advisor / placement agent who could help us with that endeavor, and I thought it would
be worth a conversation to explore further. Any chance we could set a call for a mutual introduction?
Thanks in advance, and hope to connect soon

PS – attaching our 2Q quarterly investor update for our BDC, I thought it provided some useful
background info. Also noticed you’re a Pitt MBA, I went there for undergrad!

Best,


Casey Swercheck
Vice President - Fort Lauderdale Office
CapitalSouth Partners & Capitala Finance Group
Casey@capitalagroup.com
(O) 954.848.2860
(M) 215.796.8410




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   AT
  Capitala
 Investor Update
 Q2 2015




PROPERTY OF CAPITALA GROUP




                                                                                       NF009887
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Disclaimer and Safe Harbor for Forward-Looking
Statements
These materials and any presentation of which they form a part are neither an offer to sell, nor a solicitation of an offer to purchase, an
interest in Capitala Finance Corp. (“Capitala Finance” or the “Company”).

These materials and the presentations of which they are a part, and the summaries contained herein, do not purport to be complete and no
obligation to update or otherwise revise such information is being assumed. Nothing shall be relied upon as a promise or representation as
to the future performance of the Company. Such information is qualified in its entirety by reference to the more detailed discussions
contained elsewhere in the Company’s public filings with the Securities and Exchange Commission.

There is no guarantee that any of the estimates, targets or projections illustrated in these materials and any presentation of which they form
a part will be achieved. Any references herein to any of the Company’s past or present investments or its past or present performance,
have been provided for illustrative purposes only. It should not be assumed that these investments were or will be profitable or that any
future investments by the Company will be profitable or will equal the performance of these investments.

The information contained herein has been derived from financial statements and other documents provided by the portfolio companies
and/or the third party manager of such portfolio companies unless otherwise stated.

Past performance is not indicative of future results. In addition, there can be no assurance that unrealized investments will be realized at
the expected multiples shown as actual realized returns will depend on, among other factors, future operating results of each of the
Company’s current portfolio companies, the value of the assets and economic conditions at the time of disposition, any related transaction
costs, and the timing and manner of sale, all of which may differ from the assumptions on which the Company’s expected returns are
based. In many instances, the Company will not determine the timing or manner of sale of the Company’s portfolio companies.

The Company has determined its estimated net asset value in good faith based on information believed by the Company to be reliable as
of June 30, 2015, but there can be no assurance that such estimated net asset value accurately reflects the fair value of the Company.

Statements included herein may constitute “forward-looking statements,” which relate to future events or our future performance or financial
condition. Words such as “believe”, “intend”, “expect”, “project”, “anticipate” and “future” or similar expressions are intended to identify
forward-looking statements. These statements are not guarantees of future performance, condition or results and involve a number of risks
and uncertainties. Actual results may differ materially from those in the forward-looking statements as a result of a number of factors,
including those described from time to time in the Company’s filings with the Securities and Exchange Commission. The Company
undertakes no obligation to publicly update or revise any forward-looking statements, whether as a result of new information, future events
or otherwise, except as may be required by law.


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                                                                                                                           Capitala
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Corporate Information
                             Senior Management                                              Fiscal Year End
                                                                                 December 31
     Joe Alala, III             Jack McGlinn                Chris Norton
  Chairman & CEO,              COO & Treasurer,           Chief Risk Officer,
Capitala Finance Corp.       Capitala Finance Corp.      Investment Advisor               Independent Auditor
                                                                                 Ernst & Young LLP
     Steve Arnall                  Mike Marr           Richard Wheelahan III
Chief Financial Officer,       Director – Portfolio,   CCO & General Counsel               Corporate Counsel
Capitala Finance Corp.         Investment Advisor       Capitala Finance Corp.
                                                                                 Sutherland Asbill & Brennan LLP

                             Research Coverage                                             Securities Listings

       Barclays                     BB&T                 Deutsche Bank           Nasdaq:CPTA (common stock)
      Mark DeVries             Vernon Plack, CFA          Stephen Laws           NYSE:CLA (notes)


        Janney                       Jefferies           JMP Securities
                                                                                             Transfer Agent
   Mitchel Penn, CFA                John Hecht           Christopher York        American Stock Transfer and Trust


 Ladenburg Thalmann                MLV & Co               Oppenheimer             Corporate Headquarters & Website
    Mickey Schleien             Christopher Nolan         Chris Kotowski
                                                                                 4201 Congress St, Suite 360
                                                                                 Charlotte, NC 28209
                        UBS                 Wunderlich Securities
                     Matt Howlett               Merrill Ross                     704-376-5502
                                                                                 www.capitalagroup.com



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                                                                                                         Capitala
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Capitala Finance Corp. – Public Issuer Overview
                                                    Common Stock – Nasdaq:CPTA
 Exchange-Traded Issuances:
                                                    Bonds – NYSE:CLA

 External Manager:                                  Capitala Investment Advisors, LLC

 Current Price / Share:                             $15.17(1) (0.85x price / book(2))

 Shares / Market Cap(1):                            16.1 million / $244.9 million

 Portfolio Fair Value(2):                           $565.3 million (excluding cash); $618.9 million gross asset value

 Investment Strategy:                               To directly originate debt and selective equity investments in middle market companies

                                                       Lower Middle Market (“LMM”)                         Traditional Middle Market (“TMM”)        Consolidated
 Weighted Average Portfolio
                                                       13.2%            11.5%             12.3%               11.4%             10.7%      11.0%
 Debt Investment Yield(2)(3):                                                                                                                          12.0%
                                                        Senior         Senior              Total              Senior           Senior
                                                                                                                                           Total
                                                         Debt       Subordinated                               Debt         Subordinated

 Annualized Distribution(4):                        13.8% implied annual distribution yield(5)

 Management Ownership(1):                           Approximately $19.0 million (over 7%)

 Management Fee(6):                                 Base fee of 1.75% of gross assets

                                                    (1) 20% of pre-incentive fee net investment income above an 8% hurdle and (2) 20% of
 Incentive Fee(6):
                                                    cumulative capital gains



(1)   Based on the closing price as of August 7, 2015. Total shares outstanding as of August 7, 2015.
(2)   As of June 30, 2015.
(3)
(4)
(5)
      Represents weighted average investment yield on debt investments only, based on fair value.
      Please reference press release issued on May 4, 2015 regarding inclusion of declared distributions and implied distribution yield.
      Calculated as annualized quarterly distributions of $0.62 divided by net asset value per share of $17.95.
                                                                                                                                                    foo             4
(6)   Please reference most recent Form 10-Q filed on August 10, 2015 for additional detail related to incentive fee.
                                                                                                                                                   Capitala
                                                                                                                                                                   NF009890
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Capitala Finance Corp. Overview
                             IPO in September 2013
 Externally Managed
                             Approximately $620 million in gross assets at the Company as of June 30, 2015
        BDC
                             Attractive SBIC funding provides low-cost, fixed rate funding with long-term maturities

                             Primary focus on providing shareholders a consistent cash distribution yield through
 Dual Debt / Equity           investment in interest bearing instruments that cover distributions through core NII
 Investment Focus            Equity investments in lower middle market companies create upside opportunity to generate
                              realized gains and grow net asset value

                             Invests in the lower middle market (“LMM”)
                                  Generally companies with EBITDA between $5 million and $30 million
                                  Provides greater opportunity to capitalize companies at lower overall leverage levels
 Hybrid Lower and                    and obtain potential equity ownership through co-investment and warrants
 Traditional Middle          Invests in the traditional middle market (“TMM”)
 Market Investment                Generally companies with EBITDA greater than $30 million
       Scope                      The TMM offers more liquid debt investment opportunities with many well-capitalized,
                                     established issuers
                                  Takes advantage of potential dislocations in pricing and leverage between the lower
                                     and traditional middle market
                             Capitala Finance established Capitala Senior Liquid Loan Fund I, LLC (“CSLLF”) in
                              partnership with Kemper Corporation, a long-term platform investor
                             Capitala Finance has also recently finalized CĪON / Capitala Senior Loan Fund I, LLC
                              (“CCSLF” and, together with CSLLF, the “Capitala SLF Program”), a similarly-purposed joint
Capitala Senior Loan
                              venture between CPTA and CĪON Investment Corporation
Fund (“SLF”) Program
                             The goal of the Capitala SLF Program is to invest in a diverse portfolio of liquid, non-
                              investment grade bank loans of issuers with significant scale that have less variability and are
                              more liquid than the LMM and TMM portfolio, while utilizing leverage to enhance the overall
                              portfolio return


                                                                                                                                  5
                                                                                                           Capitala
                                                                                                                                 NF009891
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Capitala Platform Overview
                           Firm Background                                              Formation and Capitalization
    Founded in 1998 in Charlotte, NC
    SEC-registered investment adviser                                                              Capitala Investment Advisors, LLC

    Four SBIC licenses                                                                                        External Manager


                Two wholly-owned SBIC subsidiaries of Capitala
                 Finance Corp.
                One with CapitalSouth SBIC Fund IV, LP                                                                           Capitala Finance Corp.
                 (“CapitalSouth Growth Fund”)                                                                                        (Nasdaq:CPTA”)
                                                                                                                        •   Public BDC
                                                                                                                        •   IPO closed 09/30/13
                One retired fund (CapitalSouth Partners Fund I,                CapitalSouth Growth Fund
                                                                                                                        •   $113MM bond offering closed June
                 Limited Partnership)                                                  Private Entity
                                                                                                                            2014
                                                                                                                        •   $80MM revolving credit facility closed
    24 investment professionals                                                                                            October 2014
                                                                                                                        •   $192MM SBA-guaranteed debentures
    Three distinct investment vehicles
               Capitala Finance Corp.                                                                $10MM                     $20MM
                                                                               CĪON                                                                   Kemper
                                                                                                    CPTA Capital              CPTA Capital
                                                                            Investment                                                               Corporation
               CapitalSouth Growth Fund (<$5 million EBITDA)
                                                                            Corporation                                                                Affiliate
               Capitala SLF Program
                                                                            CĪON/Capitala Senior Loan            Capitala Senior Liquid Loan
    Approximately $900 million invested since                                Fund I, LLC (“CCSLF”)                Fund I, LLC (“CSLLF”)
                                                                          • JV between CPTA and CĪON            • JV between CPTA and
     inception                                                              Investment Corporation                Kemper Corporation Affiliate
                                                                          • TRS facility with leverage to be    • TRS facility with up to 4.0x
    108 portfolio companies since inception                                determined                            leverage

               60 Current Portfolio Companies (“PCs”) at Capitala
                Finance
               48 Exited PCs                                                        TRS Entity                          TRS Entity

    Six offices located throughout the country
    Over 1,000 investments reviewed per year

                                                                                                                                                                      6
Note: All statistics are through June 30, 2015.
                                                                                                                                       Capitala
                                                                                                                                                                     NF009892
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The Capitala Difference
                                                                                Unique Hub and Spoke
                                                                                 Origination Platform



                                                                        6 full-service offices
                                                                        Over 1,000 potential investment
         Vested and Shareholder                                          opportunities originated and reviewed
                                                                         annually
                                                                                                                                                     High Quality, Risk Adjusted
        Aligned Management Team                                                                                                                              Portfolio
                                                                        Over $400 million in gross investments
                                                                         since IPO
 Management owns approximately $19
  million worth of common stock (5)
 Establishment of monthly distributions                                                                                                      Average portfolio debt yield of 12.0% (1) (2)
 Adopted stock repurchase program in
  March, 2015 and repurchased ~1.4% of                                                                                                        Average leverage of 4.2x for the lower
  shares outstanding as of June 30, 2015                                                                                                       middle market and total middle market (1) (3)
 Declaration of a special $0.50 per share
  distribution to be paid monthly (March
  through December 2015)
                                                                          Capitala
                                          Uniquely Optimized Capital
                                                                                                                    Attractive NAV Upside
                                          Structure for Rising Interest
                                                                                                                           Potential
                                               Rate Environment

                                      Approximately 90% of existing long-term                             Targeted equity participation of no more
                                       debt matures in 2020 or later, and 100% of                           than 20% of investment portfolio
                                       debt is fixed rate and protected against rate
                                                                                                           Current portfolio is 14.7% equity at fair
                                       increases (1)
                                                                                                            value (1)
                                      Revolving credit facility provides
                                       attractively priced, flexible shorter-term                          Recent, continued monetization of equity
                                       liquidity                                                            positions with positive IRRs demonstrate
                                      No financing exposure to interest rate                               potential to provide upside to NAV (4)
                                       changes as of June 30, 2015

(1)   As of June 30, 2015.
(2)   Represents weighted average investment yield on debt investments only, based on fair value.
(3)   Middle market defined as issuers with EBITDA of $50 million or less. Portfolio leverage excludes equity investments, weighted by fair value.
                                                                                                                                                                                               7
(4)
(5)
      Please reference Form 8-K filed on November 12, 2014 for additional detail regarding historic equity realizations.
      As of August 7, 2015.                                                                                                                                      Capitala
                                                                                                                                                                                           NF009893
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The Capitala Difference
     Despite a competitive marketplace, Capitala Finance has                                        Equity Portfolio as of 6/30/15
      maintained strict underwriting standards which have resulted in                                ($ in millions)
      conservative underlying leverage statistics
                                                                                                                                                                     Unrealized
     Capitala Finance’s legacy equity portfolio provides potential                                                                                                 Appreciation
      upside via future capital gains distributions                                                                                                                  $28.2MM

     Capitala Finance’s debt portfolio provides attractive risk
      adjusted yields compared to peers, with the following weighted
                                                                                                                  Cost Basis
      average yields:                                                                                             $54.6MM
       LMM Total: 12.3%                     TMM Total: 11.0%
       LMM Senior: 13.2%                    TMM Senior: 11.4%
       LMM Senior Sub: 11.5%                TMM Senior Sub: 10.7%
                                                                                                                        Total Fair Value: ~$83 million
                         Total Portfolio: 12.0%
  Capitala Portfolio Leverage Over Time(1)                                                           Comparison of Portfolio Debt Yields Against Peers (4)
  ($ in millions)
                                                                                                    13.3%
                                                                                                            12.8% 12.6%
                                                                                                                        12.4% 12.4%
                                                                                4.5x                                                  12.0%
                                                                                                                                              11.6% 11.5%
                                                                                                                                                            11.2%
                                                                                                                                                                    10.9% 10.9% 10.8%
                                                                       4.2x
                                             4.1x
                     3.9x    3.9x    3.9x
                                                     3.8x
                                                              3.7x                                                                                                                      8.4%




                    Q4 2013 Q1 2014 Q2 2014 Q3 2014 Q4 2014 Q1 2015 Q2 2015    Total -
                                                                               middle
                                                                                      (2)
Weighted Avg.                                                                  market
                    $14.8   $14.7   $17.1   $25.9   $30.9    $33.0    $34.2                         FDUS TCAP GAIN       MCC PNNT CPTA MRCC TCRD GLAD SCM TCPC GARS GBDC
EBITDA(3)

Note: Portfolio statistics as of June 30, 2015. Peer yields as of latest available reporting.
(1) Leverage excludes equity investments, weighted by fair value.
(2) Middle market defined as issuers with EBITDA of $50 million or less.
                                                                                                                                                                                               8
(3) Includes both debt and equity investments, weighted by fair value.
(4) Peer group based on selected combination of market capitalization, investment mix and utilization of SBA funding.                                          Capitala
                                                                                                                                                                                           NF009894
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Continued Focus on Unique Direct Origination
Platform
     Unique regionally focused business development offices provide access to higher yielding deals at lower attachment points
        − LA office provides nationwide coverage and access to West Coast deal flow




                                  Expanding Business Development Footprint Yields Diverse Deal Flow



    *       Corporate Headquarters
             Regional Office
                                                                                                                           \




            General Industrial (19%)
            Consumer Products (12%)
            Energy Services (11%)
            Healthcare (9%)




                                                                                                 Ta
            Information Technology (8%)
            Business Services (7%)
            Recreation, Leisure and Entertainment (7%)
            Retail (7%)
            Restaurant & Food (6%)
            Finance (5%)
            Capitala SLF Program (3%)
            Industrial Equipment Rental (2%)
            Building Products (2%)
            Conglomerate (1%)




                                                                                                                                           9
Note: Velum Global Management, LLC (Sao Paulo, Brazil) and Group Cirque du Soleil, Inc. (Montreal, Quebec) not pictured.
                                                                                                                               Capitala
                                                                                                                                          NF009895
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Continued Origination Strength
    Since IPO, Capitala Finance has completed 70 investments, investing                               Deployments Since IPO by Source
     over $400 million                                                                                                 Investment
                                                                                                                          Fund                 Directly
    While market conditions remain competitive, weighted average yields                                                   4%                 Sourced -
                                                                                                            Add-ons                         Equity Sponsor
     on newly deployed debt were 11.6% for the second quarter, which                                         17%                                 26%

     continues to provide attractive risk-adjusted returns
    Continued multi-pronged focus on (i) directly originated LMM
     transactions providing greater yield opportunities through lower
     attachment points and (ii) TMM transactions, including first and
     second lien bank loans in larger, scaled companies, when yield and
                                                                                                         Directly
     leverage spreads converge with the LMM and (iii) continued build-out                              Sourced Non-
                                                                                                                                                  Broadly
                                                                                                                                                 Syndicated
     of the Capitala SLF Program                                                                         sponsor
                                                                                                                                                    21%
                                                                                                           32%



                                                              Deployment Summary by Quarter(1)
($ in millions)

                                                                                                                                                       $102.8
                                                                                                                                                        $5.2
                                                                                              $86.7                                                     $7.2
         Capitala SLF Program
                                                                                                                                                       $15.8
                                                                                                              $65.9             $67.2
         TMM (First Lien)                                                                     $35.0
                                                                                                                                $10.0
                                                                                                              $17.4
                                                                $41.1                                                           $15.0
         TMM (Second Lien)                 $35.1
                                                                                                              $24.8              $4.2                   $74.6
                                            $6.0                                    $22.5
         LMM                                                                                  $51.8
                                                                                    $14.3                                       $38.1
                                           $29.1                                                              $23.8
                                                                                     $8.2
                                          Q4 2013             Q1 2014              Q2 2014   Q3 2014         Q4 2014           Q1 2015                Q2 2015
                  (2)
# of Deployments                             7                   5                    7         14              12                8                      17
$ of Deployments (New Issuer)              $21.0                $26.9                $14.3    $73.0           $61.4                 $60.0               $93.4
$ of Deployments (Add-on)                  $14.1                $14.2                $8.2     $13.8           $4.5                  $7.2                $9.3
                                 (3)
Average Yield Deployed Capital             13.3%                14.6%                11.4%    11.4%           10.7%                 13.3%               11.6%
Note: Lower middle market deals defined as having less than $30 million in TTM EBITDA.
Note: Investment statistics represent from IPO through June 30, 2015.
(1) Dollar amounts of deployments shown net of OID.
(2) Represents number of unique deployments by security type (not by portfolio company).
                                                                                                                                                                10
(3) Represents weighted average yield of debt instruments only, based on fair value.

                                                                                                                                                                NF009896
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Experienced, Cohesive Team
Name                         Title                                      Education
Joe B. Alala, III            Chairman & CEO                             JD/MBA – Wake Forest University / AB – Princeton University
M. Hunt Broyhill             Partner & Member of Board of Directors     BA – Wake Forest University
Jack McGlinn                 COO & Director                             MBA – UNC Chapel Hill / BA Accounting – Notre Dame
Chris Norton                 CRO & Director – Underwriting              MBA & BS Commerce – University of Virginia
Steve Arnall                 CFO                                        BA Accounting – James Madison University / CPA
Stephen Riddell, CFA         Senior Portfolio Manager – Liquid Credit   MBA – Vanderbilt / BA Economics – Furman University / CFA Charterholder
Richard Wheelahan            CCO, Director & General Counsel            JD – UNC Chapel Hill / BA Political Science – Appalachian State University
Lynne Girts                  CAO                                        BS Accounting – University of Southern Mississippi
Michael Marr                 Director – Portfolio                       ML Taxation – Emory / JD – Campbell / BSBA – University of North Carolina
Chuck Cox                    Director – Portfolio                       MBA – University of Pennsylvania / BSBA – University of North Carolina
Randall Fontes               Director – Atlanta                         MBA – Duke University / BA Economics – Tulane University
Mario Shaffer                Director – D.C.                            BA – College of William and Mary
Adam Richeson                Director                                   MBA – Wake Forest University / BA – The Ohio State University
Davis Hutchens               Vice President                             MBA – UNCC / BA Sociology & Computer Science – Duke
Eric Althofer                Vice President                             MBA – University of Michigan / BA Economics – Washington University
Michael Graham               Vice President                             MBA – University of Pennsylvania / BA Economics – Vanderbilt
Casey Swercheck              Vice President                             BS Finance – University of Pittsburgh
Christian MacCarron          Vice President                             BA Economics – UCLA
Kevin Koonts                 Controller                                 BSBA & Master of Accounting – University of North Carolina / CPA
Ryan Ross                    Associate                                  BSBA – East Carolina University
Patrick Wells, CFA           Associate                                  BA Economics – Wake Forest University / CFA Charterholder
Danny Speake                 Associate                                  BA Economics – Sewanee
Alexander Paczek             Analyst                                    BA – Macalester College
Richard Dunham               Business Development                       JD/MBA – Wake Forest University / BS – Dartmouth




       Represents “core” team who have been together since 2003
                                                                                                                                                     11
                                                                                                                             Capitala
                                                                                                                                                     NF009897
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Multi-Pronged Investment Strategy
    Multi-pronged LMM and TMM investment strategy, combined with the Capitala SLF Program, provides significant flexibility to
     invest in multiple parts of the capital structure at varying attachment points and to benefit from market dislocations to achieve
     attractive risk-adjusted returns
                                           Traditional BDC Platform                                           Capitala SLF Program
                    Lower Middle Market (LMM)                Traditional Middle Market (TMM)                      CSLLF / CCSLF
                   Seasoned, smaller companies in
                                                                Well established companies in the
                    underserved capital markets /                                                          Leading companies in the broadly
                                                                 traditional middle market with
                    industries with a history of                                                            syndicated and larger middle
  Target            generating revenues and positive
                                                                 scaled operations and consistent
                                                                                                            market with non-investment grade
Companies                                                        operating history
                    cash flows                                                                              loans
                                                                $30 million and greater in TTM
                   $5 million to $30 million in TTM                                                       ~$40 million+ in TTM EBITDA
                                                                 EBITDA
                    EBITDA

Investment                                                                                                 Target allocations of $1 million to
                   Generally $5 million to $30 million         Generally $5 million to $30 million
   Size                                                                                                     $3 million per trade

                   Direct origination from proprietary
                                                                Broadly syndicated transactions
                    corporate relationships, private
                                                                 from leading investment banks
                    equity sponsors and sell-side                                                          Broadly syndicated transactions
Investment          intermediaries                              Primary focus on second lien bank          from leading investment banks
   Focus                                                         loans with a secondary focus on
                                                                                                        
                   Focus on secured mezzanine, senior                                                      Focus on first lien bank loans
                                                                 first lien bank loans to support the
                    subordinated and senior “unitranche”
                                                                 borrowing base
                    loans

                   Primarily current cash income with          Current cash income                       Current cash income
                    additional return from origination and      Accretion of original issue discount      Accretion of original issue discount
Sources of          structuring fees                                                                        (OID)
                                                                 (OID)
 Returns           Potential upside through equity             Ability to trade out of premium-          Ability to trade out of premium-
                    participation                                priced positions after issuance            priced positions after issuance



                                                                                                                                                   12
                                                                                                                          Capitala
                                                                                                                                                  NF009898
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         Attractive, Diversified Combined Portfolio
             Diversified ~$565 million portfolio (excluding cash) across 60 issuers, with 36% senior debt, 46% senior subordinated debt,
              15% equity, and 3% Capitala SLF Program
             Weighted average yield on debt investments as of June 30, 2015 was 12.0%
             Weighted average 4.2x leverage, with strong covenants and broad lender rights in place


         PORTFOLIO BY INDUSTRY                                          PORTFOLIO BY GEOGRAPHY                                         DEBT PORTFOLIO BY ASSET TYPE


                        Business
                        Services                                                           International
                                   Energy Services                                              2%
                          7%            11%
Conglomerate Capitala SLF                                                   Midwest
      1%          Program                                                    18%
    Building         3%                               General
    Products                                         Industrial
      2%                                               19%                                                               South
             Finance                                                                                                                                                   Senior
               5%                                                                                                        53%
  Industrial                                                                                                                        Senior Debt                   Subordinated Debt
 Equipment                                                                                                                             44%                              56%
    Rental
     2%                                                             Northeast
              IT                                     Consumer         17%
             8%                                      Products
                                                       12%
          Healthcare
             9%                              Recreation,                          West
                        Retail Restaurant & Leisure and                           11%
                         7%       Food      Entertainment
                                   6%            7%




                         ~$565 million                                                ~$565 million                                               ~$467 million




                                                                                                                                                                       13
         Note: Portfolio details as of June 30, 2015.
         Note: Capitala SLF Program investment included in the South region. No investments were made through CĪON Fund as of June 30, 2015.           Capitala
                                                                                                                                                                      NF009899
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Equity Portfolio Overview
     37 active equity investments comprising $54.6 million of invested capital with an estimated fair value of $82.8 million,
      representing only 14.7% of total investments at fair value
     Capitala Finance has delivered on its stated strategy of rotating out of legacy equity positions, and continues to seek attractive
      equity investment opportunities
                        Current Equity Investments                                                          Demonstrated Rotation Out of Equity Positions
($ in thousands)                                                           % of Investments at
Company                                      $ Cost Basis   $ Fair Value        Fair Value
City Gear, LLC                                  $1,269        $9,108               1.6%                                                                                 2.0%     2.7%
Medical Depot                                   1,333          7,820               1.4%
KTS                                             2,969          7,284               1.3%
MJC Holdings, LLC                               2,000          6,250               1.1%
Crowley                                         6,207          6,207               1.1%
MTI Holdings, LLC                               2,000          5,095               0.9%                                             33.3%
                                                                                                         38.7%    37.3%     36.7%           37.4%
Navis Holdings, Inc                             1,001          4,966               0.9%                                                              41.9%
GA Communications, Inc.                         2,304          3,820               0.7%                                                                         46.3%   45.0%
Burgaflex Holdings, LLC                         1,504          3,734               0.7%                                                                                         46.5%
Boot Barn                                        381           3,048               0.5%
Brunswick Bowling Products, Inc                 2,993          2,993               0.5%
LJS Partners, LLC                               1,500          2,587               0.5%
AAE Acquisition, LLC                              17           2,449               0.4%
Print Direction, Inc.                           2,990          2,394               0.4%
Worklife America, Inc.                             -           2,197               0.4%
Corporate Visions, Inc.                         1,575          2,163               0.4%                  22.7%    26.7%     28.0%   34.4%




                                                                                                                          IPO
STX Healthcare Management Services, Inc.        1,418          1,796               0.3%                                                     31.8%
Micro Precision, LLC                            1,629          1,629               0.3%                                                              30.6%
MMI Holdings, LLC                               1,175          1,519               0.3%                                                                         30.5%
Source Capital Penray, LLC                       750           1,334               0.2%                                                                                 35.0%
B&W Quality Growers                               20           1,068               0.2%                                                                                         36.1%
Caregiver                                        523            910                0.2%
CableOrganizer Acquisition, LLC                 1,125           867                0.2%
Taylor Precision Products, Inc.                  758            758                0.1%
TCE Holdings, Inc.                              3,600           721                0.1%                  38.6%    36.0%     35.3%
Stoddard Hill Media Holdings, LLC                  -             96                0.0%                                             32.3%   30.8%
                                                                                                                                                     27.5%
Burke America Parts Group, LLC                    5              5                 0.0%                                                                         23.2%
American Exteriors                                 -              -                0.0%                                                                                 18.0%
                                                                                                                                                                                14.7%
IMTS                                               -              -                0.0%
J&J Produce, Inc.                                818              -                0.0%
Market E's, LLC                                 1,205             -                0.0%
                                                                                                         Q2 2013 Q3 2013 Q4 2013 Q1 2014 Q2 2014 Q3 2014 Q4 2014 Q1 2015 Q2 2015
On-Site Fuel Services, Inc.                     5,676             -                0.0%
Source Capital Abutec, LLC                      1,240             -                0.0%
Source Capital SSCR, LLC                        1,888             -                0.0%                      Equity   Senior Debt    Senior Subordinated Debt     Capitala SLF Program
Source Recycling, LLC                           1,590             -                0.0%
Southern Pump & Tank, LLC                          -              -                0.0%
Sparus Holdings, Inc                            1,173             -                0.0%
  Total                                        $54,634       $82,818              14.7%
                                                                                                                                                                                         14
Note: Current equity position details as of June 30, 2015.
Note: Current equity positions exclude $15.3 million fair value of equity in the Capitala SLF Program.
                                                                                                                                                                 Capitala
                                                                                                                                                                                         NF009900
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Demonstrated Track-Record of Equity Realizations
      Capitala Finance continues to generate meaningful internal rates of return (IRR), and realized gains through the
       monetization of equity investments



                                                       BOOT                                                                                              “een
                                                                                                                                                         CORPORATE VISIONS
                                                                                                                                                         Be   Different. Where it Counts. Your   Message.




                                          On March 3, 2015 Capitala
                                                                                                  Total investment of $8.3 million for             On May 29, 2015, Capitala
                                           Finance sold 179,748 common
                                                                                                   Class A Preferred and Common                      Finance sold its common equity
                                           shares in a secondary offering,
                                                                                                   Stock                                             investment in CVI for cash
                                           recognizing $4.0 million of net
                                                                                                                                                     proceeds of $9.7 million
                                           proceeds, representing a $3.3
                                                                                                  Consideration of $17.6 million in
 Investment Overview                       million gain(1)
                                                                                                   cash received upon exit in March                 $7.1 million realized gain,
                                          Sold 325,000 additional shares in                       2015                                              excluding benefit of $0.6 million is
                                           the open market in the second                                                                             sale proceeds held in escrow
                                           quarter of 2015 for a realized gain                  $9.3 million realized gain (3)
                                           of $7.7 million                                                                                          In addition, Capitala was repaid at
                                                                                                  Total shareholder distributions                   par, $11.5 million, in respect of its
                                          Capitala Finance still retains                          received prior to realization of $6.5             senior subordinated note
                                           ~95,000 shares                                          million


                                          Entered investment in December
                                                                                                Entered Investment in April 2011                   Entered Investment in July 2010
      Total Gross IRR                      2011
                                                                                                Total Gross IRR of 40%                             Total Gross IRR of 37%
                                          Total Gross IRR of 79%(2)


                                          Total cash-on-cash return of                         Total cash-on-cash return of                       Total cash-on-cash return of
         Total MOIC                        7.0x(2)                                               2.9x                                                4.0x


      Capitala Finance Has Demonstrated an Ability to Successfully Rotate Out of Legacy Equity Positions and
                              Provide Meaningful Realized Gains to Shareholders


(1)   Please reference Form 8-K filed on March 3, 2015 for additional detail related to partial Boot Barn realization. Boot Barn returns include impact of $0.4
      million dividend received on April 17, 2014.
(2)   Boot Barn returns assume a current market valuation on remaining shares owned as of August 7, 2015.
                                                                                                                                                                                                            15
(3)   Please reference recent press release on March 17, 2015 for additional details related to KBP monetization.
                                                                                                                                                                          Capitala
                                                                                                                                                                                                            NF009901
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Limited, Diversified Oil & Gas Exposure
            Five existing portfolio companies with direct exposure to the Oil & Gas segment, diversified across upstream and midstream
             operations
            All investments continue to perform and the fair value of Oil and Gas investments were approximately 85.8% of cost at June
             30, 2015, compared to 89.5% at December 31, 2014.
            Capitala Finance maintains consistent, direct access with all portfolio executives to receive real-time updates on current
             performance and future guidance
            As of June 30, 2015, all Oil & Gas sector investments were current on payments


    ($ in thousands)

                                                                                                                                                        Capitala Investment
               Portfolio Company                                                       Description
                                                                                                                                          12/31/14 FV      06/30/15 FV         $ / % Change

                                                Provides drilling-related engineering and consulting services to oil & gas exploration
                    SIERRA                                                                                                                 $14,547           $14,196          ($351) / (2.4%)
                       HAMILTON                 and production companies.

                                                Provides consulting services, safety services, and safety equipment sales and leasing
                                                                                                                                           $24,161           $22,129          ($2,032) / (8.4%)
 Upstream




                                                to the oil and gas industry. Operates primarily in the Eagle Ford and Permian basins.

                                                                                                                                                                       (1)
                                                Provides well stimulation services to the upstream oil and gas industry, engaging in
                CUSWS
                eS.        WELL      SERVICES   high-pressure hydraulic fracturing in unconventional oil and natural gas basins.
                                                                                                                                            $4,761            $8,671          $3,910 / 82.1%


                                                Manufactures emission control products serving the oil & gas, landfill, and wastewater      $5,166            $4,689          ($477) / (9.2%)
                 ABUTEC’                        treatment industries.
                 SPARUS
 Midstream




                  THE   SPEAR
                                                Provider of field, professional, and technology services to utilities and other large
                                  GROUP




                                                                                                                                           $10,573           $10,825            $252 / 2.4%
                                                industrial customers.
                  EZ    Tec

                                                                                                            Total Investment Fair Value    $59,208           $60,510           $1,302 / 2.2%
                                                                                                              % of total                    12.3%             10.7%


Note: Portfolio statistics as of June 30, 2015.
(1) During the first quarter of FY2015, Capitala Finance funded an incremental $4.17 million to US Well Services as part of the originally
                                                                                                                                                                                               16
     executed credit agreement.
                                                                                                                                                                 Capitala
                                                                                                                                                                                              NF009902
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  Lower Middle Market (LMM): Portfolio Overview
  (Company EBITDA $5 million - $30 million)
      Diversified ~$414 million LMM portfolio (excluding cash) across 43 issuers, with 38% senior debt, 45% senior subordinated
       debt, and 16% equity
      Weighted average yield on LMM debt investments as of June 30, 2015 was 12.3%
                  Weighted average yield on senior debt: 13.2%
                  Weighted average yield on senior subordinated debt: 11.5%
      Weighted average 4.2x leverage, with strong covenants and broad lender rights in place


  PORTFOLIO BY INDUSTRY                                             PORTFOLIO BY GEOGRAPHY                                DEBT PORTFOLIO BY ASSET TYPE


                Business                                                               International
Building        Services                                                                    2%
                  10%              Energy Services
Products                                                                Midwest
         Finance                        13%
  1%                                                                     18%
           2%
 Industrial
Equipment                                         General
   Rental                                        Industrial
    3%                                             19%                                                         South   Senior Debt
                                                                                                               52%        46%                             Senior
  IT                                                                                                                                                 Subordinated Debt
 10%                                                            Northeast                                                                                  54%
                                                                  13%

Healthcare                                    Consumer
   9%                                          Products
                                                  9%
              Retail                  Recreation,                            West
               9%       Restaurant & Leisure and                             15%
                           Food      Entertainment
                            5%           10%



                       ~$414 million                                                ~$414 million                                    ~$346 million



                                                                                                                                                           17
  Note: Portfolio details as of June 30, 2015. Figures exclude amounts invested in the Capitala SLF Program.


                                                                                                                                                          NF009903
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 Traditional Middle Market (TMM): Portfolio Overview
 (Company EBITDA $30 million+)
         Diversified ~$136 million TMM portfolio (excluding cash) across 15 issuers, with 34% senior debt, 56% senior subordinated
          debt, and 11% equity
         Weighted average yield on TMM debt investments as of June 30, 2015 was 11.0%
                   Weighted average yield on senior debt: 11.4%
                   Weighted average yield on senior subordinated debt: 10.7%
         Weighted average 4.2x leverage, with weighted average issuer EBITDA over $105 million


  PORTFOLIO BY INDUSTRY                                             PORTFOLIO BY GEOGRAPHY                              DEBT PORTFOLIO BY ASSET TYPE


                                      General
                                     Industrial                                         International
             Energy Services
                   6%                  21%                                 Midwest           1%
      Building                                                              19%
      Products
        4%

                                                                                                                       Senior Debt
                                                                                                                          38%
Finance
                                                                                                               South                                      Senior
  15%
                                                                                                               50%                                   Subordinated Debt
                                                  Consumer                                                                                                 62%
                                                  Products
      IT                                            25%
      4%                                                          Northeast
                                                                    30%
      Healthcare
         9%                             Recreation,
                          Restaurant &  Leisure and
                   Retail
                             Food      Entertainment
                    3%
                             12%            1%




                     ~$136 million                                                 ~$136 million                                     ~$121 million



                                                                                                                                                            18
  Note: Portfolio details as of June 30, 2015. Figures exclude amounts invested in the Capitala SLF Program.
                                                                                                                                          Capitala
                                                                                                                                                           NF009904
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Summary of Financial Performance

                                                                     Statements of Operations
($ in thousands, except per share data)
                                                                                                                Three Months Ended:
                                                                             6/30/15         3/31/15       12/31/14      9/30/14     6/30/14       3/31/14      12/31/13
                                                                           (unaudited)     (unaudited)    (unaudited)  (unaudited) (unaudited)   (unaudited)   (unaudited)

 Investment Income
   Interest, PIK, and fees                                                      $14,874        $13,674       $13,045     $11,044       $9,257        $8,604        $8,446
   Dividends                                                                        208            366           413         120        3,263         3,762         3,559
   Other income                                                                       2              1             3           3            6             8           140
   Total investment income                                                       15,084         14,041        13,461      11,167       12,526        12,374        12,145

 Expenses
  Interest and financing expense                                                  4,681          4,637         4,505       4,268        2,401         2,199         1,857
  Management fees, net of waivers                                                 2,587          2,410         2,459       2,498        2,200         1,894         1,738
  Incentive fees                                                                  1,329          1,180             -           -        1,408         1,430         1,525
  Other expenses                                                                  1,170            997         1,430         857          883         1,130           925
  Total expenses                                                                  9,767          9,224         8,394       7,623        6,892         6,653         6,045

 Net Investment Income                                                            5,317          4,817         5,067       3,544        5,634         5,721         6,100

 Realized gain (loss) from investments                                           15,837          9,340          2,205     (3,055)         462         1,220           (48)
 Unrealized appreciation (depreciation)                                         (16,212)        (4,290)       (18,453)      (178)         116        (5,723)          745
 Net gain (loss) on investments                                                    (375)         5,050        (16,248)    (3,233)         578        (4,503)          697
 Net increase (decrease) in assets resulting from operations                     $4,942         $9,867       ($11,181)      $311       $6,212        $1,218        $6,797

 Net investment income per share                                                  $0.33          $0.37          $0.39      $0.27        $0.43         $0.44         $0.47
 Net realized gain / (loss), per share                                            $0.99          $0.72          $0.17     ($0.24)       $0.04         $0.09        ($0.00)
 Net increase (decrease) in assets resulting from operations per share            $0.31          $0.76         ($0.86)     $0.02        $0.48         $0.09         $0.52
 Distributions declared during quarter                                            $0.47          $0.97          $0.47      $0.47        $0.47         $0.47         $0.47
 Distributions paid during the quarter                                            $0.62          $0.52          $0.47      $0.47        $0.47         $0.47         $0.47




                                                                                                                                                                             19
                                                                                                                                                  Capitala
                                                                                                                                                                             NF009905
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Summary of Financial Performance

                                                   Statements of Assets & Liabilities
($ in thousands)
                                                                6/30/15         3/31/15      12/31/14        9/30/14       6/30/14       3/31/14     12/31/13
                                                              (unaudited)     (unaudited)    (audited)     (unaudited)   (unaudited)   (unaudited)   (audited)

 Investments at fair value                                        $565,314      $518,927      $480,337      $445,126      $405,559      $391,181     $364,719
 Cash and cash equivalents                                          39,533        32,007        55,107       107,576       166,503        57,566      101,622
 Other assets                                                       14,013        16,041        14,422        12,710        12,407         9,962       10,087
   Total assets                                                   $618,860      $566,975      $549,866      $565,412      $584,469      $458,709     $476,428

 SBA debentures                                                   $192,200      $192,200      $192,200      $192,200      $192,200      $192,200     $202,200
 Notes                                                             113,438       113,438       113,438       113,438       113,438             -            -
 Revolving credit facility                                               -        15,000             -             -             -             -            -
 Distribution payable                                                4,879         5,840             -             -             -             -            -
 Other liabilities                                                  16,478         2,325         3,391         1,658        14,927         2,719        5,558
  Total liabilities                                                326,995       328,803       309,029       307,296       320,565       194,919      207,758

 Net assets                                                        291,865        238,172       240,837      258,116       263,904       263,790      268,670

 Total liabilities and net assets                                 $618,860      $566,975      $549,866      $565,412      $584,469      $458,709     $476,428



 Number of portfolio investments                                         60             54            52           50            45             43           41
 Average investment size                                            $9,422         $9,610        $9,237       $8,903        $9,012         $9,097       $8,896
 Leverage ratio-actual                                                1.05x          1.35x         1.27x        1.18x         1.16x          0.73x        0.75x
 Leverage ratio - regulatory                                          0.39x          0.54x         0.47x        0.44x         0.43x          0.73x         .75x
 Average risk rating                                                   1.97           1.88          1.83        1.80          1.73           1.73         1.65
 Non-accrual loans at fair value                                   $10,530             $-            $-       $7,822        $5,560         $5,588       $6,474
 PIK non-accrual loans at fair value                                $5,740        $10,500       $10,573           $-            $-             $-           $-




                                                                                                                                                                  20
                                                                                                                                        Capitala
                                                                                                                                                                  NF009906
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Distribution Coverage
    Historic track-record since IPO of consistent NII, distribution coverage and realized gains

    Continued focus on distribution coverage with core NII and rotation from non-yielding equity positions to debt investments




                                                       Distribution Coverage Summary
                                                                                                For the three months ended:
($ in thousands, except per share data)
                                                             6/30/2015   3/31/2015   12/31/14       9/30/14       6/30/14     3/31/14    12/31/13   9/30/13
 Regular Distributions paid per share                           $0.47        $0.47       $0.47         $0.47         $0.47      $0.47       $0.47     $0.47
 Special Distributions paid per share                           $0.15        $0.05       $0.00         $0.00         $0.00      $0.00       $0.00     $0.00
Distributions paid per share                                    $0.62        $0.52       $0.47         $0.47         $0.47      $0.47       $0.47     $0.47

Net investment income per share                                 $0.33        $0.37       $0.39          $0.27        $0.43       $0.44      $0.47      $0.42
Realized capital gains, net, per share                          $0.99        $0.72       $0.17         ($0.24)       $0.04       $0.09      $0.00      $0.14
Net investment income and realized gains, per share             $1.32        $1.09       $0.56          $0.03        $0.47       $0.53      $0.47      $0.56

Dividend income earned                                           $208         $366        $413           $120       $3,263      $3,762     $3,559     $2,158
Dividend income earned, per share                               $0.01        $0.03       $0.03          $0.01        $0.28       $0.29      $0.27      $0.17




                                             On March 3, 2015, the Company’s Board of Directors declared a special distribution of $0.50
          Special                             per common share, to be paid monthly over the remainder of 2015. Special distribution
        Distribution                          represents approximately a 32% increase over normal monthly distributions.




                                                                                                                                                               21
                                                                                                                                         Capitala
                                                                                                                                                               NF009907
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Attractive Funding In Place
    Stable liquidity and capital structure provided by SBA debentures and corporate notes with long-term maturities and fixed rates
     − Capitala Group principals have received four SBIC licenses, with a 10+ year track record
    Addition of revolving credit facility provides attractively priced, shorter-term capital with an accordion feature that can grow with
     the borrowing base
    As of June 30, 2015, Capitala Finance had no financing exposure to interest rate changes

Current Funding Overview
                 Facility                                Interest Rate                           Maturity                 Amount Drawn (06/30/15)

    SBA Debentures                                      3.51% fixed                        2015 – 2023                         $192.2 million

                                                                                         Callable June 2017
    Notes Payable                                   7.125% fixed                                                               $113.4 million
                                                                                         Matures June 2021

    $80 million Credit Facility                     L+300 floating                        October 2018                          $0.0 million

Notes Maturity Profile ($ in millions)

           Notes

           SBA debentures
                                                                                                          91% of existing notes and debentures
                                                                                                            mature in 2020 or later
                                                                                                            − $192 million of 10-year term SBA
           Revolving Credit Facility                                   $113.4                                 guaranteed debentures
                                                                                                            − $113 million of 7.125% notes due in
                                                                                                                2021


       $8.0        $13.5
                                                  $5.0       $19.0
                                                                         $61.7   $60.0
                                                                                         $25.0
                                                                                                          Obligors for SBA debentures are 2 SBIC
                                                                                                            licensee subsidiaries; issuer is not an
                                                                                                            SBIC obligor

       2015        2016        2017        2018   2019        2020       2021    2022    2023




                                                                                                                                                      22
Note: As of June 30, 2015.
                                                                                                                                    Capitala
                                                                                                                                                      NF009908
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Alignment of Interests with Shareholders
                                             On February 26, 2015, the Company’s Board of Directors authorized a stock
  Recently authorized stock                   repurchase program of up to $12.0 million to purchase shares in the open market
    repurchase program                       224,602 shares have been repurchased under the program, representing 1.4% of
                                              total shares outstanding (1)

                                             On March 3, 2015, the Company’s Board of Directors declared a special distribution
       Recently announced                     of $0.50 per common share, to be paid monthly over the remainder of 2015. Special
        special distribution                  distribution represents approximately a 32% increase over normal monthly
                                              distributions


        Monthly distribution                 The Company converted to monthly distributions as of October 2014, providing
            payment                           shareholders additional flexibility as it relates to income planning

                                             Management team rolled over $10.0 million of invested capital into Company shares
                                              at IPO
   Management ownership                      Management team bore the IPO expenses using a portion of its estimated $18.5
      and payment of                          million of carried interest and rolled over the remaining balance into Company
                                              shares
       fees for IPO
                                             Management team owns over 7% of the common stock and has made meaningful
                                              purchases in the open market since the IPO

                                             Manager waived management fees on uninvested IPO proceeds at Capitala level
   Management fee waiver                      for the first year post-IPO (expired September 30, 2014)

                                             Manager postponed deploying meaningful amounts of its largest SBIC fund, raised
    Fee waiver / investment                   in 2007, until the lower middle market recovery began
       positioning during                    During the economic downturn, manager waived fees while adding professionals in
                                              order to maximize value for its investor base and to position its legacy funds to
      economic downturn                       invest during the early stages of recovery


                                                                                                                                   23
Note: As of June 30, 2015.
                                                                                                             Capitala
                                                                                                                                  NF009909
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Conclusion

    Experienced team and comprehensive credit management expertise



    Established and growing direct origination capabilities



    Attractive investment portfolio with conservative leverage and top quartile debt yields



    Continuing platform build-out of multi-pronged investment strategies




                                                                                    fOr,        24
                                                                                   Capitala
                                                                                                NF009910
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Capitala Finance Corp.
           Common stock: Nasdaq:CPTA
               Notes: NYSE:CLA

                          Q2 2015




                                                                     Capitala
                                                                                NF009911
